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 Fill in this information to identify the case:

 Debtor name            Amshale Energy LLC, A Texas limited liability company

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               16-33754
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       25,000,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       25,000,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       21,000,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        5,060,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $         26,060,000.00




                                                                                                                                                                                   Exhibit "B"

 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Amshale Energy LLC, A Texas limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33754
                                                                                                                                Check if this is an
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Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No.    Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                               Current value of
                                                                                                                                 debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.
                                                                                                     Valuation method used        Current value of
                                                                                                     for current value            debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     American Ethane                                                50        %                                         $25,000,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
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 Debtor         Amshale Energy LLC, A Texas limited liability company                        Case number (If known) 16-33754
                Name



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                   $25,000,000.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor          Amshale Energy LLC, A Texas limited liability company                                               Case number (If known) 16-33754
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                       $25,000,000.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $25,000,000.00             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $25,000,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 3
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 Fill in this information to identify the case:

 Debtor name          Amshale Energy LLC, A Texas limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)              16-33754
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    EUCLA Investments Limited                     Describe debtor's property that is subject to a lien                  $21,000,000.00          $25,000,000.00
        Creditor's Name                               LLC Interest
        Coastal Building Wickham's
        Cay II
        PO Box 2221
        Road Town, Tortola
        BRITISH VIRGIN ISLANDS
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



                                                                                                                              $21,000,000.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         EUCLA Investments Limited
         Eftapaton Court                                                                                       Line   2.1
         256 Makarios Ave.
         PO Box 53180
         CY-3301 LIMASSO



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Amshale Energy LLC, A Texas limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          16-33754
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                             $0.00
           A.K. Kunatbaev                                                     Contingent
           2323 South Shepherd Dr.                                            Unliquidated
           Suite 800
                                                                              Disputed
           Houston, TX 77019
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantor of EUCLA Investments Limited claim
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $5,000,000.00
           Bluebell Investments Trading, Inc.
           c/o A. Thomaides & Co. 20 Omirou,                                  Contingent
           PO Box 54060                                                       Unliquidated
           3720 Limassoc                                                      Disputed
           CYPRESS
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $60,000.00
           Davillier Law Group, LLC                                           Contingent
           1010 Common St., Ste. 2510                                         Unliquidated
           New Orleans, LA 70112                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                             $0.00
           H Ventures LLC                                                     Contingent
           3500 North Hullen St.                                              Unliquidated
           Metairie, LA 70002
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantor of EUCLA Investments Limited claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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 Debtor       Amshale Energy LLC, A Texas limited liability company                                   Case number (if known)            16-33754
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Konstantin Nikolaev                                                Contingent
           2323 South Shepherd Dr.                                            Unliquidated
           Suite 800
                                                                              Disputed
           Houston, TX 77019
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantor of EUCLA Investments Limited claim
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           M.Z. Yuriev                                                        Contingent
           2323 South Shepherd Dr.                                            Unliquidated
           Suite 800
                                                                              Disputed
           Houston, TX 77019
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantor of EUCLA Investments Limited claim
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                     5,060,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        5,060,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Amshale Energy LLC, A Texas limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33754
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Amshale Energy LLC, A Texas limited liability company

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 Case number (if known)         16-33754
                                                                                                                              Check if this is an
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Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      A.K. Kunatbaev                    2323 South Shepherd Dr.                          EUCLA Investments               D        2.1
                                               Suite 800                                        Limited                          E/F
                                               Houston, TX 77019
                                                                                                                                G




    2.2      H Ventures LLC                    3500 North Hullen St.                            EUCLA Investments               D        2.1
                                               Metairie, LA 70002                               Limited                          E/F
                                                                                                                                G



    2.3      Konstantin                        2323 South Shepherd Dr.                          EUCLA Investments               D        2.1
             Nikolaev                          Suite 800                                        Limited                          E/F
                                               Houston, TX 77019
                                                                                                                                G




    2.4      M.Z. Yuriev                       2323 South Shepherd Dr.                          EUCLA Investments               D        2.1
                                               Suite 800                                        Limited                          E/F
                                               Houston, TX 77019
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Amshale Energy LLC, A Texas limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33754
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 10, 2016                        X /s/ H Ventures LLC by: John Houghtaling
                                                                       Signature of individual signing on behalf of debtor

                                                                       H Ventures LLC by: John Houghtaling
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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           CaseCase
               16-33754-sgj11
                    2:16-cv-17013-CJB-DEK
                              Doc 13-1 Filed 10/11/16
                                             Document Entered
                                                      1-2 Filed
                                                              10/11/16
                                                                12/09/16
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                                                                          Page 11Page
                                                                                  of 111 of 1


                                                               United States Bankruptcy Court
                                                                       Northern District of Texas
 In re      Amshale Energy LLC, A Texas limited liability company                                           Case No.   16-33754
                                                                                    Debtor(s)               Chapter    11



                             DECLARATION FOR ELECTRONIC FILING OF AMENDED PETITION,
                            ORIGINAL/AMENDED BANKRUPTCY STATEMENTS AND SCHEDULES,
                                  AND/OR AMENDED MASTER MAILING LIST (MATRIX)

        As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company named as the debtor in this case, I hereby declare under penalty of perjury that I
have read

                        the original statements and schedules to be filed electronically in this case

                        the voluntary petition as amended on the date indicated below and to be filed electronically in this case

                        the statements and schedules as amended on the date indicated below and to be filed electronically in this
                        case

                        the master mailing list (matrix) as amended on the date indicated below and to be filed electronically in
                        this case

and that the information provided therein is true and correct. I understand that this Declaration is to be filed with the
Bankruptcy Court within 7 days after such statements, schedules, and/or amended petition or matrix have been filed
electronically. I understand that a failure to file the signed original of this Declaration as to any original statements and
schedules will result in the dismissal of my case and that, as to any amended petition, statement, schedule or matrix, such
failure may result in the striking of the amendment(s).



            I hereby further declare under penalty of perjury that I have been authorized to file the statements, schedules,
            and/or amended petition or amended matrix on behalf of the debtor in this case.


 Date: October 10, 2016                                              /s/ H Ventures LLC by: John
                                                                     Houghtaling
                                                                     H Ventures LLC by: John Houghtaling,
                                                                     Managing Member




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